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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


Emily Rutherford (also known                        )
as Emily Lambert),                                  )
      Plaintiff,                                    ) Case # 1:25-cv-2172
             v.                                     )
                                                    )
Angie Clements,                                     )
     Defendant.                                     )

             COMPLAINT AND DEMAND FOR JURY TRIAL

  1. This is a lawsuit for breach of contract, fraud, mail fraud, conversion, and
     trespass.
                                INTRODUCTION

  2. This is a lawsuit for breach of contract, fraud, conversion, theft, and trespass.
     Defendants Angie Clements stole more than $200,000 from Plaintiff, leaving
     Plaintiff Lambert and her children homeless, and penniless.

                           JURISDICTIONAL STATEMENT
  3. This Court has jurisdiction over this matter under 28 U.S. Code § 1332
     because this suit is between “citizens of different States” and the amount in
     controversy exceeds $75,000.
  4. Additionally, this suit involves mail fraud which is government by federal
     law.
  5. Venue is proper because the actions, events, and conduct at issue occurred, at
     least partially, in the U.S. District of the District of Columbia.

                                 THE PARTIES

  6. Defendant, Angie Clements, resides at 985 Prospector Road Hackleburg,
     AL, 35564.
  7. Ms. Clements is a citizen of the State of Alabama.

  8. Plaintiff, Emily Rutherford, now resides at 113 Lake Drive East,
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   Livingston Montana, 59047, but at the time was a resident of 770 5th
   St NW APT 1107, Washington D.C. 20001.

9. Ms. Rutherford was at the time a resident and citizen of The District of
   Columbia.
                    STATEMENT OF THE CASE

10. Plaintiff Emily Rutherford and Defendant Angie Clements were formerly
    close friends.

11. In late 2021, Rutherford and Clements jointly purchased real estate from
    Harold Landers to wit; around 1.5 acres with a two-story house and a




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   separate mobile home located at 985 Prospector Road, Hackleburg, Alabama
   (“the Hackleburg property” or “the property”).

12. The total purchase price for the real estate was around $92,900.

13. Rutherford found the property, negotiated the purchase, and brokered the real
    estate deal.

14. Each purchaser (Clements and Rutherford) held a fifty (50) percent interest,
    jointly owned.

15. The deed on file with the Marion County Clerk and Recorder reflects that
    Rutherford and Clements are joint (50%) owners of the Hackleburg
    property.

                 Clements’ and Rutherford’s Agreement

16. Rutherford and Clements agreed that Clements would provide the $25,000
    down payment, and Rutherford would make all monthly mortgage payments,
    until the mortgage was paid off (totaling $78,204.31).

17. Rutherford paid all utility payments, including power, gas, trash pickup, and
    water.

18. As required by the mortgage agreement, Clements arranged for and
    purchased homeowners’ insurance for the property. As required by the
    mortgage agreement both Rutherford and Clements were required to be
    named on the policy.

19. However, upon information and belief, Clements canceled the original
    policy (which named both Clements and Rutherford as policy holders and
    beneficiaries) around October 2023 and replaced the policy with a policy
    which named only Clements as policy holder.

20. Thereafter, unbeknownst to Rutherford, Clements arranged for only her
    (Clements’) name on the insurance policy as a policy holder. (Allstate Policy
    # 831 317 307.)
21. Note that Rutherford is an “interested person” under Alabama insurance law;
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and thus, Rutherford has an insurable interest in the Hackleburg property
regardless of the names on the Allstate Policy.




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22. Rutherford believed she had paid all property taxes, as she sent the money
   to Clements to do so, while Rutherford was working and residing in D.C.

23. Clements lived in a single-wide mobile home on the property; while
   Rutherford dwelt in the two-story, three-bedroom, one bathroom home.

24. Rutherford resided and slept in the largest bedroom of the house, the Master
   Bedroom.

25. Rutherford filled the two-story home with her personal property.

26. Rutherford’s children, Lily, Connor, and Luke slept in the living room of
   the two-story house, while the children’s upstairs bedrooms were being
   readied.

27. Rutherford’s children’s personal property, including toys, clothing, bicycles
   and other property, were kept in the two-story house.

      Rutherford’s temporary work relocation to Washington, D.C.

28. Around December 2022, Rutherford left to live temporarily in Washington,
    D.C. for work. Rutherford rented and resided in an apartment in Washington D.C.
    during this period.

29. As per the parties’ agreement, Rutherford continued paying all utility bills:
   gas, water, light, and property taxes, remotely from Washington, D.C.

30. Rutherford, from Washington, D.C., also continued paying every monthly
   mortgage payment, on time, in the amount of $700 per month.

31. While in D.C., Rutherford made the mortgage payments electronically, to
   either Terry Lambert or Angie Clements, who then deposited the monthly
   installments directly into the bank account of the prior owner, Harold
   Landers.

32. Sometime around 2022, Clements established a romantic relationship with
   an individual named Benjamin Strickland.
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    33. Strickland later, around the end of 2022, moved in with Clements at the
       Prospector Road mobile home.

                                Prior Owner Harold Landers Dies.
    34. Around August 2023, prior owner (and mortgagor of the Prospector Road
        property) Harold Landers died.

    35. After Landers’ death, Landers’ daughter Elicia L. Frederick requested that
        the monthly $700 payments be made to her (Elicia Frederick’s) account.


    36. Unbeknownst to Rutherford, Clements began pocketing the monthly $700
        payments from Rutherford, unlawfully keeping the money for herself, and
        never turning the payments over to Elicia Frederick or to Landers’ estate.


    37. Rutherford continued making the monthly mortgage payments to Clements,
        who communicated to Rutherford that she (Clements) was properly
        forwarding the payments to the Landers’ estate.1
March 2024: Clements curiously mailed certain heirlooms from Rutherford’s’
                          house to Rutherford.
    38. Unexpectedly and without Rutherford’s invitation, around March 2024,
        Clements mailed certain cherished heirlooms belonging to Rutherford from
        Rutherford’s house to Rutherford’s D.C. address.

    39. This indicates that Clements and Strickland seemed to be cleaning out the
       house while Rutherford was away, for no reason apparent to Rutherford.

    April 4, 2024: Clements’ fraud, theft, and conversion forces the Landers
                        Estate to send a demand letter.




1
 Because Rutherford paid the utility payments directly (electronically) to the utility providers, the utility
payments remained up to date.

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40. Clements’ conversion and unlawful theft of Rutherford’s’ mortgage and
   property tax payments forced Landers Estate to hire a law firm (the Lowe
   firm) to send a letter of demand to Clements and Rutherford.

41. The letter of the demand was addressed to both Rutherford and Clements, at
    the Hackleburg property address; but Rutherford never saw the letter until
    months later because Clements did not share the letter with Rutherford.

42. Clements knew of the existence of the certified letter but kept this
    information from Rutherford.

43. By concealing the existence of the certified letter from Rutherford, Clements
    concealed the fact that Clements had been stealing, pocketing, and
    converting Rutherford’s mortgage and property tax payments, and not
    paying them over to the prior owners or the County Treasurer.

        April 15, 2024: Rutherford’s home burned to the ground.

44. On or about April 15, 2024, while Rutherford was in Washington, D.C.,
    Rutherford’s home on the property mysteriously burned to the ground.

45. The cause of the fire was unknown.

46. The destruction of the house caused Rutherford to suffer an extreme
   financial loss.

47. In fact, Rutherford’s house was a 100% loss.

48. Rutherford also lost 100% of her and her children’s personal property in the
   fire.

49. Clements raised an unknown amount of funds through cash app and various
   fundraising platforms by claiming that her home burnt down, despite the fact
   that Clements was not residing in the main home, and only Rutherford’s
   property was actually lost in the fire.

         Rutherford’s discovery of Clement’s theft of conversion.

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50. Immediately after learning of the destruction of her home, Rutherford drove
   to Hackleburg to survey the damage.

51. Upon arriving in Hackleburg, Rutherford learned of the April 4 certified
   demand letter.

52. The letter indicated that Clements and Rutherford were in default on the
   mortgage.

53. From this, Rutherford discovered that Clements had been pocketing
    Rutherford’s mortgage and property tax payments rather than paying them
    over to the mortgagor and the County Treasurer.

54. Clements assured Rutherford that an insurance claim had been asserted for
   the damage to Rutherford’s house, and that Allstate Insurance was preparing
   to issue a check in the amount of $229,403 for the loss of Rutherford’s
   house.

       Clements and Rutherford negotiated a secondary agreement.

55. In June 2024, Rutherford and Clements negotiated a secondary agreement
    between themselves.

56. Rutherford, now homeless, was entitled to most of the insurance proceeds.

57. However, Rutherford agreed to accept $64,300 because Rutherford needed
   to pay for an immediate medical procedure.

58. Rutherford compromised with Clements to be charitable and giving to
   Clements and settle the issue without issues due to her health.

59. This agreement was in writing; both in a signed contract between both
   properties, and in text messages between Rutherford and Clements.

60. The insurance company (Allstate) made its payment to Clements.


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 61. Pursuant to the secondary agreement between the parties, around June 5,
    2024, Clements mailed a check in the amount of $64,000 to Rutherford, at
    770 5th St. NW in Washington, D.C.

 62. However, after Rutherford returned to D.C. for work, Clements unlawfully
    canceled the check by issuing a stop payment order.


   Clements repudiates, cancels, rescinds, and breaches the secondary
 agreement, converting the insurance funds for herself and/or Strickland.
 63. Clements’ act of stopping payment on the check constituted a rescission,
    repudiation, cancelation, and total breach of the secondary contract.

 64. Thus Rutherford is entitled to the whole and entire $229,403 insurance
    settlement, minus whatever damages can be said to pertain to Clements’
    interest in the property.

 65. On June 21, 2024, Rutherford had an attorney draft and send via certified
    mail a demand letter for the 64,300.00.

 66. Around June 26, 2024, Clements texted Rutherford, saying that Strickland
    had cancelled the check, and failed to respond further nor made any effort
    to correct her breach.

COUNT ONE: MAIL FRAUD BY MAILING A BAD, FRAUDULENT AND
                  WORTHLESS CHECK.
 67. Plaintiff incorporates by reference lines 1 through 68.




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    68. As described above, Clements used the U.S. mail to defraud Rutherford.

    69. Rutherford suffered severe damages as a result of this fraud.

    70. Clements’ fraudulent check was in the amount $64,000, rendered on June 5,
        2024.

    71. Clements used the U.S. mails for this fraud scheme, which is a federal
        felony.

    72. Rutherford sent written demand for payment to Clements, by first-class mail
        and certified mail, return receipt requested. Rutherford waited more than 90
        days, but Clements did not pay the amount of the check.

    73. Accordingly, Rutherford is entitled to twice the amount of the check, and
        attorneys’ fees.

COUNT TWO: FRAUD BY FALSE INSURANCE APPLICATION AND
RECEIPT.

    74. Plaintiff incorporates by reference lines 1 through 71.
    75. As described above, Clements and Rutherford were required by their
        mortgage to obtain homeowners insurance. Clements misled Rutherford to
        believe she had obtained proper insurance. However, Clements had
        deceptively and fraudulently obtained insurance which named only herself
        as policyholder and beneficiary, with the intent to deprive Rutherford of her
        rights.
    76. C l e m e n t s u s e d t h e U . S . m a i l s f o r t h i s f r a u d u l e n t
        scheme, which is a federal felony.
    77. Rutherford suffered severe damages, and is entitled to compensatory and
        punitive damages, along with attorneys fees.

             COUNT THREE: ISSUING A WORTHLESS CHECK.
    78. Plaintiff incorporates by reference lines 1 through 77.

    79. AL Code § 6-5-285 (2023) states that: “The holder of a worthless check,
        draft, or order for the payment of money shall have a right of action against

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the person who unlawfully made, uttered, or delivered the same to him or to
his endorser; and such action may be maintained though there has been no
prosecution, conviction, or acquittal of the defendant for his unlawful act. . .
. The plaintiff in such action may recover such damages, both punitive and
compensatory, including a reasonable attorney fee, as the jury or court trying
the case may assess.” Further, negotiating a worthless negotiable instrument
is a Class A misdemeanor in Alabama.




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80. In violation of Section 6-5-285, as described above, Clements negotiated a
    worthless check to Rutherford in the amount of $64,000. Rutherford is
    entitled to recovery of this sum from the Defendants, plus punitive damages
    and attorney’s fees.
               COUNT FOUR: BREACH OF CONTRACT
81. Plaintiff incorporates by reference lines 1 through 80.

82. As described above, Defendant Clements had a valid contract with
    Rutherford. Clements breached the contract by failing to include
    Rutherford on the insurance policy and by failing to pay over Rutherford’s
    share of the insurance settlement.

83. Accordingly, Rutherford is entitled to compensatory and punitive
    damages, along with attorney’s fees.
                      COUNT FIVE: CONVERSION.
84. Plaintiff incorporates by reference lines 1 through 83.

85. As described above, Clements received thousands of dollars of mortgage
    payments and property tax payments from Rutherford, to be delivered and
    paid forward to the mortgage holder(s) and the County Treasurer.

86. As described above, Clements intentionally kept, stole, and pocketed
    these funds for herself.

87. Later, when Clements received the insurance settlement described
    above—which belonged mostly to Rutherford—Clements intentionally
    kept, stole, and pocketed these funds for herself.


                          COUNT SIX: TRESPASS
88. Plaintiff incorporates by reference lines 1 through 87.

89. As described above, Clements and Strickland have committed trespass to
    Rutherford’s house and left it destroyed and devoid of value.

90. As a result, Rutherford suffered severe damages, and Rutherford is
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      entitled to her losses, damages (including punitive damages), and
      attorneys fees.
                              PRAYER FOR RELIEF
      ACCORDINGLY, Rutherford prays for relief from this Court, including
       (1) compensatory damages of $229,403, the amount of the insurance
           settlement, minus whatever damage can be said to pertain to Clements’
           interest in the property. (Because the destroyed house and personal
           property on the real estate were Emily Rutherford’s, any residual
           damage pertaining to Clements’ interest should be quite minimal.)
       (2) punitive damages, of $100,000
       (3) attorney’s fees, costs, and
       (4) any other relief as this Court sees fit.
       Rutherford also requests this Court to issue a preliminary injunction upon
any future or pending sale of the real estate in question, and a lien upon the title of
the property in the amount of Rutherford’s suffered damages, in favor of
Rutherford.




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DATED: July 8, 2025,                     RESPECTFULLY SUBMITTED,
                                         Respectfully submitted,
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                           CERTIFICATE OF SERVICE
I Roger I. Roots certify that, a copy of the foregoing filing is being served
electronically on all parties registered with the Court’s ECF system.




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